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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

vs.                                               CASE NO.: 4:06-CR-020-SPM

LENARD MINOR, et al.,

           Defendants.
________________________________/


                      ORDER CONTINUING SENTENCING

       THIS CAUSE comes before the Court upon the “Defendant’s Third

Unopposed Motion to Continue” (doc. 144) filed February 9, 2007. Defendant is

expected to testify at the trial of recently-indicted co-conspirator Terrance Oliver

and requests a continuance until that trial occurs. The Government does not

oppose the motion.

       Finding good cause for the continuance, it is accordingly

       ORDERED AND ADJUDGED as follows:

       1.     Defendant’s motion to continue (doc. 144) is hereby granted.

       2.     Sentencing is reset for Monday, April 23, 2007 at 1:30pm at the

              United States Courthouse in Tallahassee, Florida.

       DONE AND ORDERED this fourteenth day of February, 2007.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
